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October 22, 2009
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lsabel M. Humphrey

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Phoeriix, Arizona 85016

Re: intersections !nc. and Net Enforcers, Inc. v. Loomi's and Loomis, Case No. 1:090V597
Dear isabel:

This confirms that during our meet and confer telephone conference this atternoon, you advised that you
had not produced any documents for Jenni Loomis. As you are aware. Jenni's discovery responses were
due on September B. 2009. We mutually agreed to extend the time for producing documents but despite
our repeated requests for documentsl you did not produce any documents for Joe Loomis until this week
and have not produced a single document for Jenni Loomis.

We tried to discuss the other outstanding discovery issues raised in our October 21. 2009 letter regarding
the deficiencies in Joe Loomis' document production, but you hung up on us We will make ourselves
available this afternoon for another call to address those issues lf you do not call or we are not able to
resolve these issues today. we will have no choice but to seek the assistance of the Court.

Very truly yours,

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NlJD/VC

cc: David Ludw':g
Nlelissa R. Roth

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